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                          UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OFVIRGINIA
                                 ALEXANDRIA DIVISION


                                                    UNDERSEAL
   IN RE: APPLICATION OF THE UNITED
   STATES OF AMERICA FOR ORDER                      Case No. I:19-ec-1275(IDD)
   PURSUANT TO 18 U.S.C. § 2703(d)



                       MOTION TO QUASH OR MODIFY ORDER
                       ISSUED PURSUANT TO 18 U-S.C.82703(d)

       Warner Media,LLC respectfully moves the Coiat to quash or modify its Order ofJuly
15,2020,issued pursuant to 18 U.S.C. § 2703(d). Enforcing the Order as it is currently framed
would compel Warner Media to produce information for all emails sent or received during a
two-month period by a veteran national security reporter working for CNN. That sweeping
request captures more than 34,000 communications. Most ofthose records,however,likely
have no connection to the government's investigation. And compelhng the disclosure offriat
             would give the government significant access to the reporter's newsgathering
activities—including all news sources that she contacted by email during that period-and the
 inner workings ofa large news organization. Warner Media made good faith proposals to the
 government in an attempt to narrow the Order's expansive scope,but die government rejected
 those proposals,insisting on access to two months' worth ofajoumaUst's email headers, which
 includes both internal communications solely within CNN and communications with a myriad of
 third parties. Requiring Warner Media to provide the government thatinformation would violate
 the         under both § 2703(d)and the First Amendment that an Order for a reporter's
                records be carefully tailored to compel the disclosure ofonly information that is
 relevant to the government's investigation.
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       Warner Media therefore respectfully requests that the Court quash its Order or,at a
minimumj narrow the Order to compel the production ofonly information that is reasonably
likely to be relevant to the government's investigation. Altematively,the government should be
required to narrow its request so that it is more carefully calibrated to obtain relevant
information, z.e., by using specific email addresses or other limitations to focus the Order on
information that is reasonably likely to be relevant to the government's investigation.
                                         BACKGROUlVD

        On July 17,2020, Warner Media was served this Court's Order under 18 U.S.C.
§ 2703(d),requiring Warner Media to produce records and other information related to the
account"Barbara.starr@tumer.com"("the accounf)for the period "between June 1,2017 to
July 31,2017." That account belongs to Barbara Starr, a veteran national security and defense
reporter currently employed by CNN,a subsidiary ofWarner Media. See Ex. A,Decl. of
Stephanie Abrutyn in Supp. ofMot.to Quash or Modify("Abrutyn DecL")% 3. The Order
 directs production ofextensive information about the account,including subject headers,' log
 files, dates and times, data transfer volumes,user names,and Intemet protocol("IP") addresses
 "for each connection made to or from the Account," as well as "[ijnformation about each
 communication sent or received by the Account," including dates and times, method of
 communication,and source/destination information such as email addresses,IP addresses, and
 telephone numbers. The Order does not articulate the justification for the government's


' Although the Order states that it does not seek the "contents ofcommunications, it
requires the production of"subject headers." Courts agree, however,that an emaU^s subjectIme
is "content" under § 2703. See, e.g., Optiver AustraliaPty.
Ltd. & Ors.,No. 12-MC-80242 EJD PSG,2013 WL 256771,at *2(N.D. Cal. Jan. 23,2013)(It
 is clear from the purpose and nature ofthe subject line that it is 'content' intended to fall under
 the protection ofthe SCA.").
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expansive request. The government has orially represented, however,that Starr is not a target of

its investigation.

       After receiving the Order, Warner Media diligently endeavored to identify responsive

records. Abrutyn Decl. If 4.^ Warner Media's efforts have revealed'that the Order, as currently
framed, would direct the disclosure ofinformation related to 34,347 emails from the accoimt

Abrutyn Decl. If 6, Most, ifnot all, ofthat information is likely unrelated to the government's

investigation, and at the same time, much ofit reflects the inner workings ofCNN,a large news

organisation,including its editorial, deliberative, and newsga^ering processes. For example,
over 26,000 emails covered by the Order are among only CNN or Warner Media employees.

Abrutyn Decl. Tf 7. In addition,thousands ofcommunications captured by the Order are to and

from personal(fe., non-commercial, non-government)email accounts, or communications with

government or military email addresses,that would bear directly on Ms. Starr's newsgathering
activities by identifying, among other things, all her news sources with whom she communicated

by email during the two-month period, when she communicated with them,and the frequency of

those conununications. Abmtyn Decl.fif 8-10. During the two-month period covered by the

Order, Ms. Starr worked on numerous different news stories, publishing more than fifty news
articles on ntimerous topics and appearing on television or radio in her professional capacity on
more than 150 occasions. Abrutyn Decl.f 9.




^      The Order initially required Warner Media to provide responsive records by July 25,
2020,ten days after the Order's issuance. The government agreed to a 30-day extension ofthat
deadline, but refused to agree to a further extension unless Warner Media committed(1)to
produce some materials by the August 25,2020 deadline, or(2)to provide a concrete proposal
regarding future productions. Warner Media then filed a motion to extend the time to respond to
die Order on August 24,2020. On August 27,2020,the court extended the deadline to respond
to the Order to September 11,2020.
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          Warner Media conferred with the government in an attempt to narrow the Order's
expansive scope. The government was nnwilling to agree to any ofthe limitations proposed by
Warner Media to address the Order's First Amendment and overbreadth issues. Warner Media
now moves to quash or modify the Order. The government does not consent to the requested
relief.

                                           ARGUMENT

          The Order directs a news organization to produce to the government information related
to every email communication that its veteran reporter sent or received during a two-month
 period. The Order is not tailored to reach only those communications that are reasonably likely
 to be relevant to the investigation. The sweeping scope ofthe government's record request
 here—which,unlike most § 2703(d)requests,is directed at ajournalist's email account—raises
 serious First Amendment concerns. In light ofthe sensitive First Amendment mterests
 implicated by the Order,§ 2703(d)requires a more targeted approach. Accordingly,the Court
 should either quash the Order or narrow the Order to compel the production ofonly information
 that is reasonably likely to be relevant to the government's investigation. Alternatively,the
 government should be ordered to tailor its request to ensure that it is properly calibrated to obtain
 information that is reasonably likely to be relevant to the government's investigation,thereby
 minimizing the burden on the significant First Amendment interests at stake.
 1.        Section 2703(p)Orders MustBe Carefully Tailored To Obtain Relevant
           Information,Particularly When They Implicate First Amendment
           Interests


           A.     Section 2703(d)Imposes A Strict Relevancy Requirement And Forbids
                  Fishing Expeditions

           Section 2703(d)authorizes a court to order disclosure ofinformation only ifthe
  governmental entity offers specific and articulable facts showing that... the records or other
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infonnation soughtQ are relevant and material to an ongoing criminal investigation," 18 U.S.C.

§ 2703(d). The "specific and articulable facts showing"imposes a standard that is higher than
that required for a subpoena. See In re Applications ofthe United Statesfor an Order Pursuant
to 18 use §2703(d),206 F. Supp. 3d 454,455-456(D.D.C. 2016). A court may quash or
modify a § 2763(d)order "ifthe information or records requested are unusually voluminous in
nature or compliance with such order otherwise would cause an undue burd6n." 18 U.S.C.
§ 2703(d).

        Section 2703(d)does not tolerate "government fishing expeditions" or pernut courts to

order disclosure based on conclusory government assertions. See In re Applications ofthe
United Statesfor an Order Pursuant to IS U.S.C.§2703(d),206 F. Supp. 3d at 456;see also
United States v. Alahmedalabdaloklah, No. 12-CR-01263-PHX-NVW,2017 WL 2839645, at *6
(D.Ariz. July 3,2017)(same). Asthe 1994House Judiciary Committee Report for the
Comnmnications Assistance for Law Enforcement Act explained,the "specific and articulable

facts" language was specifically added to "rais[e]the standard for access to transactional data...
to guard against'fishing expeditions' by law enforcement." H.R.Rep.No. 103-827,at 31-32
(1994),reprinted in 1994 U.S.C.C.A.N. 3489,3511-3512. Thus,asthe Ninth Circuit articulated
in the warrant context,"[a]lthough computer technology may in theory justify blanket seizures
...,the govemirient must still demonstrate ... factually why such abroad search and seizure
 authority is reasonable in the case at hand." United States v. Hill,459 F.3d 966,975(9th Cir.
2006). In other words,"there must be some threshold showing before the government may
'seize the haystack to look for the needle.'" Id. For that reason, courts have refused to use
 § 2703(d)to compel the production ofnon-content information when the government's broad
 request was"not sufficiently tailored" to obtain information that was "actually 'relevant and
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material' to [an]investigation." In re Application of United Statesfor an Order Authorizing

Disclosure ofHistorical Cell Site Info,for Tel. No.,20 F. Supp. 3d 67,74(D.D.C. 2013),
        B.     The First Amendment Similarly Commands That§2703(d)Orders Must Be
               Carefully Tailored To Compel The Production OfRelevant Information
        The First Amendment separately and additionally requires that a § 2703(d)order be
carefully tailored when the information sought relates to media activities. In Branzburg v,
Hayes,408 U.S.665(1972),the Supreme Court recognized that, even in the criminal setting,
journalists' newsgatheiing processes do not lack First Amendment protection and must be treated
with sensitivity. Although the Court held in Branzburg that reporters do not have a blanket
privilege that excuses them from complying with grand jury subpoenas to testify,id at 690-^691,
it recognized that First Amendment concems would be implicated ifa subpoena(or other
compulsory process) were issued to a reporter seeking documents unrelated to the investigation.
That concem was not presented in Branzburg, however, because "[njothing in the record
indicate[d]that these grand juries were 'probing at will and without relation to existing need.'"
Id. at 700(alteration omitted).

        Justice Powell's concurring opinion in Branzburg similarly recognized that the First
Amendment imposes constraints on the use ofcompulsory process to obtain information from
reporters, explaining that

        ifthe newsman is called upon to give information bearing only a remote and
        tenuous relationship to the subject ofthe investigation, or if he has some other
        reason to believe that his testimony implicates confidential source relationships
        without a legitimate need oflaw enforcement, he will have access to the court on
        a motion to quash and an appropriate protective order may be entered.
 Branzburg,408 U.S. at 710(Powell, J., concurring). In circumstances where many ofthe
 requested materials appear to have no relation to the government's investigation, a reporter's
 opposition to compulsory process "should be judged on its facts [on a case-by-case basis] by the
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striking ofa proper balance between freedom ofthe press and the obligation of all citizens to
give relevant testimony with respect to criminal conduct" Id
       The Fourth Circuit has similarly made clear that First Amendment interests must be
protected from overbroad document requests that encompass materials unrelated to an
underlying investigation. In United States v. Sterling,724 F.3d 482(4th Cir. 2013),the Fourth
Circuit confirmed that courts must consider reporters' First Amendment interests when a
subpoena is not"based on a legitimate need oflaw enforcement," Id. at 496. Although the court
split from several other circuits and held that,in the criminal context,reporters do not have a
privilege to refiise to comply with subpoenas seeking specific and indisputably relevant
testimony about their sources,see id. at 495,^ it did not broadly hold that the process of
 newsgathering lacks all First Amendment protection. Nor did it authorize a general rummaging
 by the government into a reporter's communications—be they with sources,editors, or others
 without regard to whether those communications were relevant to the government s
 investigation.^


 3      The Second, Third, and Eleventh Circuits, by contrast,                               ,.
 reporter's privilege in criminal cases. See United States v. C^rs.lQi F.3d 1286, 1303(1
 Cir. 2013); UnUedStates v. Treacy,639 F.3d 32,42-43(2d Cir. 2011); UmtedSt^esv.
 Cuthbertson,630 F.2d 139,147(3d Cir. 1980);see also United States v. Foote,No.00-CR-
 20091-01-KHV,2002 WL 1822407,at *1(D.Kan;Aug. 8,2002)(recogmzing reporter s
 privilege in a criminal case).
         For several reasons.Sterlings narrow holding does not dictate the result ofthis motion.
 First,Sterling did not address the standards for § 2703(d)orders—which can be exceptionally
 broad and,as shown in this case,can call fer tens ofthousands of^ords—or the e^n o
 which the First Amendment imposes limits on those orders. It addressed only whete a report
 could be compelled to testify narrowly about his confidential sources(m tot ca^,           e
 source)at a criminal trial. 724 F.3d at 490. Second,there was no mtoationmSer/ingtot the
 reporter was being compelled to testify about confidential sources Without a le^timate^
 enforcement need—the government only soughtto compel the reporter to totify aboutto so
 related to a specific piece ofinformation,the disclosure ofwhich formed the teis fm to
 ,-riminal charges at issue into trial. See id. at 490,498-499. Thi^ the coto held that even rf
 there were a qualified reporter's privilege,the government had satisfied its burden to overcome
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       Indeed,in othdr decisions,the Fourth Gircuit has emphasized that the First Amendment

imposes certain limits on compulsory process in the criminal conte5ct, stressing that a district
court was coirect to ensure that "subpoenas were properly 'tailored' and that the documents

[sought] were relevant." In re Grand Jury 87-3 Subpoena Duces Tecum,955 F.2d 229,234(4th
Cir. 1992). The court explained that such tailoring was necessary under Branzburg to "balance
the possible constitutional infringement and the government's need for documents when it rules
on the motion to quash." Id. The Fourth Circuit also emphasized that it was"not prepared to
rubber-stamp every subpoena"that might interfere with protected "expressive activities." Id. It.
instead "caution[ed] district courts to apply with special sensitivity, where [First Amendment

interests] are potentially implicated,the traditional rule that'[prosecutors] are not licensed to
engage in arbitrary fishing expeditions.'" Id.^

       In sum,both the text of§ 2703(d)and the First Amendment mandate that a § 2703(d)

order must be carefully tailored to compel the production ofonly those documents that are likely

to be relevant to the government's investigation.


that privilege. See id. at 505-510. In particular,the court explained that "[t]here[was]no
dispute that the information sought from [the reporter was]relevant." Id. at 506. The
government cannot make that showing here—^that all ofthe information sought by the § 2703(d)
order,information relating to tens ofthousands of emails over a two-month period,is relevant to
a legitimate criinind investigation.
^      See also In re Grand Jury Subpoena:Subpoena Duces Tecum,829 F.2d 1291,1296,
1299(4th Cir. 1987)(recognizing that First Amendment interests "heightenQ the concern about
burdensomeness" when analyzing the breadth ofa criminal subpoena, and cautioning that"a
court must not give short shrift to the party asserting private constitutional rights"); Ealy v.
Littlejohn,569 F.2d 219,227(5th Cir. 1978)(recognizing "that the First Amendment can serve
as a limitation on the power ofthe grandjury to interfere with a witness' freedoms of association
and expression" and Aat"courts are not powerless tp act" when the government"goes on a
fishing expedition in forbidden waters"); Convertino v. U.S. Dep't ofJustice, No.07-CV-13842,
2008 WL 4104347, at *10(E.D. Mich. Aug.28,2008)(recognizing that even where "First
Amendment interests are not a complete bar to disclosure,""the potential adverse effects on
news gathering activities, posed by an order compelling disclosure of a confidential source,
suggests that an order to disclose should be as narrow as possible").
n       THE OrderIs Not Carefully Tailored To CompelTheProduction Of
 ■      relevantXnformation,AsRequiredBy§2703(d)AndTheFirstamendment
        A.     In Targeting A Media Account,The§2703(d)Order Implicates Substantial
               First Amendment Interests
        As an initial matter,it is beyond dispute that the Order relates to core First Amendment
 protections. The U.S. Constitution recognizes a paramount public interest in the maintenance of
 a vigorous, aggressive, and independent press capable ofparticipating m robust, unfettered
 debate over controversial matters. See, e.g.. New York Times v. Sullivcm,376 U.S.254,269-271
(1964). As Justice Black explained,"[i]n the First Amendmentthe Founding Fathers gave the
free press the protection it must have to fulfill its essential role in our democracy.... The press
 was protected so that it could bare the secrets ofgovernment and inform the people. New York
 Times Co. v. United States,403 U.S.713,717(1971)(Black,J., concurring). Informed public
 opinion,as the Supreme Court has recognized,"is the most potent ofail restramts upon
 misgovemment." Grosjecm v. American Press Co.,297 U.S.233,250(1936);see also Cox
 Broadcasting Corp. v. Cote,420 U.S.469,492(1975)("Without the information provided by
 the press most ofus and many ofour representatives would be unable to vote intelligently or to
 register opinions on the administration of governmentgenerally.")-
         To ensure that the public will enjoy the benefits ofinformed public debate,the First
  Amendment protects the press from unwarranted governmental intrusion into the newsgathering,
  deliberating, editing, and publishing processes. See Miami HeraldPubVg Co. v. Tomillo,418
  U.S.241,254-256(1974). Those protections apply with particular force to "the exercise of
  editorial control andjudgment," which includes "[t]he choice of matenal to go into a newspaper
  ... and treatment of public issues and public officials—-whether fair or unfair." Id. at 258. As the
  Fourth Circuit has explained,the First Amendment"protect[s] a news outlet's editorial
  perspective or the way its beat reporters cover" a potential story;in other words,"the very
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 'choice of material to go into a newspaper' gamers independent constitutional protection."
 Washington Post v. McManus,944 F.3d 506,518(4th Cir. 2019)(quoting TornUlo,418 U.S. at
 258).

         The Fourth Circuit has also recognized that"[n]ews reporters are 'entitled to some
 constitutional protection ofthe confidentiality of[their] sources'" because those "protection[s]
 [are]necessary to ensure a free and vital press, without which an open and democratic society
 would be impossible to niaintain." Ashcraft v. Conoco, Inc.,2\% F.3d 282,287(4th Cir.2000).
 The routine production ofrecords revealing news sources,the court explained, would restrain
 "the free flow ofnewsworthy information,""and the public's understanding ofimportant issues
 and events would be hampered in ways inconsistent with a healthy republic." Id. As the Third
 Circuit has recognized,"the interrelationship between newsgathering,news dissemination and
 the need for ajournalist to protect his or her source is too apparent to require belaboring. Riley
  V. City ofChester,612 F.2d 708,714(3d Cir. 1979).^




  ®       See also Gonzales v. NatI Broad. Co., 194 F.3d 29,35(2d Cir.
  important interests ofreporters and the public in preserving                   ^ '
  sources'")- United States v. LaRouche Campaign,841 F.2d 1176,1181 (1st Crr. 1988)
  (observing that the"disclosure of[confidential sources or information] would clearlyjeopwire
  the ability ofjournalists and the media to gather information and,therefore, have a chillmg
  on speech");Zerilli v. Smith,656 F.2d 705,710-711(D.C,Cir. 1981)(noting that n®?'®
   gathering is essential to a fine press" and that"the press'function as a vi^ somce ofirfmi^on
  is weakened whenever the ability ofjoumalists to gather news is impaired )> Baiter v. F&
  Im. 470 F.2d 778,782(2d Cir. 1972)(noting the "[cjompelled disclosure ofcoimdential
  sources unquestionably threatens ajoumalist's ability to secure infonnation Aat is ma e
  available to him only on a confidential basis" and "[t]he deterrent eff^t such disclosure is likely
  to have upon future 'undercover' investigative reporting... threatens fieedom ofthe press ).

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         B.     The Order Is Overbroad Because Enforcement Would Result In The
                Production OfInformation For Tens OfThousands OfEmails Unrelated To
                The Government's Investigation

         Compliance with the Order as written would result in the production ofinformation
 relating to 34,347 emails on myriad topics. It is almost certainly the case that most ofthat
 information has no connection to the underlying criminal investigation. Those communications
 include all email communications Ms. Starr had with every one ofher contacts during that two-
 month period as well as internal CNN and Warner Media emails. See Abrutyn Decl.tH 6-89.
 Moreover,those communications,to varying degrees,relate to the more than 50 articles she
  published during that time,as well as to countless articles she was likely working on that were
  not yet or may never have been published. See id. H 9. The government has in no way attempted
  to tailor its request to its investigation and has instead asserted the right to obtain information
  about every email Ms. Starr sent or received during a two-month period(and by extension, every
  story that Ms. Starr was working on during that time). Permitting the government to obtain those
  records without undertaking some effort to tailor its request to information that is at least
  reasonably likely to be relevant to the government's investigation would sanction an invasive
  and impermissible fishing expedition into newsgathering activities that are completely unrelated
  to the government's investigation.

          Other courts have refused similarly broad government requests to compel the production
  ofinformation when it was clear that the information sought was unrelated to the underlying
  investigation The District Court for the District ofColumbia,for example,found that a
  government request under § 2703(d)for 120 days' and 7 days' worth ofnon-content information
  from separate accounts was"not sufficiently tailored to be actually 'relevant and material to [an]
  investigation" because the government only "alleg[ed]that an individual may have been
  involved in a specific crime on a specific date and at a specific time. In re Application of
                                                    11
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 United Statesfor an Order Authorizing Disclosure ofHistorical Cell Site Info,for Tel No.,20 F.
 Supp.3d at 74. That the government was investigating a series ofcrimes that occurred over two
 months did notjustify the broad request without a "specific explanation"for why the government
 needed information from the requested period. Id. at 72. Even outside the First Amendment
 context,the court explained that"each individual 'recordQ or other information'[sought] must
 be 'relevant and material' to the investigation; otherwise,the government could obtain an entire
 database of... information merely because one or some ofthe entries in that database are
 'relevant and material.*" Id.

       The Order here similarly compels the production ofinformation related to thousands of
 pmaiu that almost certainly have no relationship to the government's investigation. Section
 2703(d)does not permit that expansive request for information untethered from the
 government's investigation, and certainly not when that information includes the name ofevery
  news source contacted by a reporter by email during atwo-month period,and the entire timeline
  ofher internal correspondence with other CNN reporters and her editors. See In re Applications
  ofthe United Statesfor an Order Pursuant to 18 U.S.CJ 2703(d),206V. Supp.3d at 456.
           The First Amendment interests impUcated by the Order-including the need to "protectQ
  ... the confidentiaUty of[reporter's] sources" and thereby "ensure a ftee and vital press,"
  Ashcraft,218 F.3d at 287—provide an equally ifnot more compelling justification for ensurmg
  that.the Order is properly tailored to compel the production ofonly information that is
  reasonably likely to be relevant to the government's investigation. Here,enforcing the Order as
  currently firamed would allow the government to scrutini2B the existence ofand timelme for
  every communication Ms.Starr had with other CNN reporters and her editors during the two-
  month period,see Abrutyn Decl. H 7,as well as the name ofevery news source who was m email

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 contact with a reporter for two full months,including when and how often they communicated,
 see id. H 8(noting that Ms. Starr participated in approximately 7,800 communications with
 extemal email accounts arid that many relate to newsgathering activities). That information—
 which, at a minimum,relates to more than 50 news stories,see id. H 9 ^would give the
 government significant access to the reporter's newsgathering activities(a reporter whose beat
 includes reporting on the government)and to the inner workings ofa large news organization.
 Allowing the government to obtain that broad swath ofinformation without it even attempting to
 impose substantive limitations that would ensure that the materials are reasonably likely to be
 relevant to the underlying investigation is impermissible under the First Amendment. See In re
 Grand Jury 87-3 Subpoena Duces Tecum,955 F.2d at 234.
         The Department ofJustice's own regulations demonstrate the Order s overbreadth as
 currently drafted. Those regulations start with the premise that a § 2703(d)order directed at
  members ofthe news media is an "extraordinary measureD"that should not be undertaken
  lightly. 28 C.F.R.§ 50.10(a)(3). By DOJ regulation,the information sought must be "essential
  to[a]successful investigation"; court process should not be used to obtain information that is
  "peripheral" or "nonessential"to the investigation. Id. § 50.10(c)(5)(ii)(A). Instead,any
  subpoena(or similar request) must be "narrowly drawn,""directed at matenal and relevant
  information regarding a limited subject matter," and "avoid requiring production ofa large
  volume ofmaterial." Id. § 50.10(c)(5)(vii). Here,the Order is not"narrowly drawn"to only
  obtain"essential" information that is "material and relevant... [to] a limited subject matter," nor
  does it avoid the production ofa large volume of material. To the contrary,the order would
  force Warner Media to produce information for over 34,000 emails that are mostly, and perhaps
  entirely,irrelevant, peripheral, and nonessential to the government's investigation.


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        The Privacy Protectioii Act("PPA"),42 U.S.C. § 2000aa,further underscores the
 important interests at stake and the need to carefiilly tailor compulsory process aimed at
 newsgathering activities. The PPA prohibits the government from "searching]for or seiz[ing]
 documentary materials" or work product "possessed by a person in connection with a purpose to
 disseminate to the public a newspaper,book, broadcast, or other similar form of public
 communication," unless there is probable cause to believe that person "has committed or is
 committing the criminal offense to which the materials relate." 42 U.S.C.§ 2000aa(a),(b).
        That provision was enacted to overturn the Supreme Court's decision in Zurcher v.
 Stanford Daily,436 U.S. 547(1978). There,the Court held that the Fourth Amendment permits
 unannounced searches ofa newsroom for evidence that might incriminate a third party as long as
 the government obtains a warrant. Id. at 553-560, 567. The dissent expressed concern that broad
 searches ofreporters' newsgathering materials pursuant to a warrant—whereby the government
 would be allowed "to ransack the files ofa newspaper,reading each and evejy document until
 they have found the one named in the warrant"—^would "lead to the needless exposure of
 confidential information completely unrelated to the purpose ofthe investigation." Id at 573
 (Stewart, J., dissenting). Such searches are "inimical to the First Amendment," because they are
 "bound to have a deterrent effect on the availability ofconfidential news sources,""diminishing
 [the]flow of potentially important information to the public." Id. The dissent would have
 required,,instead,that the government proceed through narrowly tailored subpoenas, which
 "would permit the newspaper itselfto produce only the specific documents requested," thereby
 preventing the disclosure ofnews sources unrelated to the government's investigation. Id
  Congress passed the PPA to prevent the First Amendment intrusions that Stanford Daily
  otherwise would have condoned. See S. Rep.96-874,at 4-5,9(1980).



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        Here, however,by serving an expansive § 2703(d)order on a media account,the
 government seeks to gain substantial insight into the digital equivalent ofa iiewsroom. The
 wide-ranging record request would allow the government to sift through all ofa reporter's email
 headers jfrom a two-month period, deciding after the fact what information is relevant to its
 investigation. Congress's resolve in enacting the PPA to impose limits on the government s
 ability to search materials related to newsgathering,the heightened standard under § 2703(d),
 and the First Amendment dictate that compulsory process targeting a news organization must be
 carefully drawn to obtain relevant information all point to a tailoring requirement that the
 government has not satisfied here.

         A Westem District of Wisconsin decision is illustrative ofthe approach that is warranted
  here. In In re Grand Jury Subpoena to Amazon.com Dated Aug. 7, 2006,246 F.R.D. 570(W.D.
  Wis. 2007),the court narrowed a grandjury subpoena issued to Amazon seeking ihformatibn
  about used book buyers in response to First Amendment concerns. Id. at 573. The court
  e?q5lained that"it is an unsettling and un-American scenario to envision federal agents nosing
  through the reading lists oflaw-abiding citizens while hunting for evidence against somebody
  else." Id. The court also noted that permitting the subpoena would have a chilling effect on e-
  cOmmerce and other protected activities, Id. Accordingly,the court both imposed limits and
  mandated review procedures that lessened the subpoena's impact on the book sellers and
  customers' First Amendment rights. Id.(ordering the use ofa "filtering mechamsm and other
  measures to limit the number of Amazon customers impacted); of. United States v. Coml^,890
  F.2d 539,545(1st Cir. 1989)(rejecting First Amendment challenge to subpoena because of
  "narrowness with which the subpoena... is drawn," specifically,it was not"a blanket request for
  the identities ofall of Comley's associates and informants" but instead sought only "tape


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 recordings of a limited number ofconversations that took place between two specified
 individuals"). Imposing substantive limits on the Order(e.g., narrowing to specific email
 addresses) would ease the First Amendment concerns implicated by the current Order's broad
 sweep.

                                          CONCXUSION

          For the foregoing reasons,the Court should quash or,in the alternative, narrow the Order
 issued pursuant to 18 U.S.C.§ 2703(d)or, alternatively, direct the government to narrow the
 scope ofthe records sought by the Order to only those specific records that are reasonably likely
 to be relevant to its investigation.




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 Dated: September 11,2020
                                       Respectfully submitted,



                                       Brittany Mam(VA Bar No.80078)
                                       Jamie S. Gorelick(DC Bar No.913384)
                                          {pro hac vice application pending)
                                       Paul R.Q. Wdlfson(DC Bar No.414759)
                                          {pro hac vice application pending)
                                       Aaron Zebley(DC Bar No. 1023653)
                                            {pro hac vice)
                                        Whitney D.Russell(DC Bar No.987238)
                                          {pro hac vice)
                                        WILMER CUTLER PICKERING
                                            HALE AND DORR LLP
                                        1875 Pennsylvania Ave. NW
                                        Washington,DC 20006
                                        Tel: (202)663-6000
                                        Fax: (202)663-6363
                                        brittany.amadi@wilmerhale.com
                                        jamie.gorelick@wilmerhale.com
                                        paul.wolfson@wilmerhale.com
                                        aaron.zebley@wilmerhale.com
                                        whitney.russell@wilmerhale.com

                                           Counselfor Warner Media LLC




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                              UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OFVIRGINIA
                                    ALEXANDRIA DIVISION


                                                       UNDER SEAL

    IN RE: APPLICATION OF THE UNITED
    STATES OF AMERICA FOR ORDER                        Case No, l:19-ec-1275
    PURSUANT TO 18 U.S.C. § 2703(d)



        DECLARATION OF STEPHANIE ABRUTYN IN SUPPORT OF MOTION
     TO OUASH OR MODIFY ORDER ISSUED PURSUANT TO 18 U.S>C.§ 2703(d)
 I, Stephanie S. Abrutyn,hereby declare under penalty ofpeijury:
    1. I am Senior Vice President& ChiefCounsel,Litigation and Public Policy, WamerMedia.
        In that role, I lead the team responsible for overseeing and managing litigation for
        Warner Media,LLC("Wamer Media")and its subsidiaries and brands,including CNN
        and the Tumer networks. Among other things, my team responds to certain government
        requests for information and other forms ofcompiilsory process.
     2. Warner Media was served the above-referenced Order on July 17^ 2020.
     3. The Order requires the production ofinformation from the email account ofBarbara Starr
        (*the account"), a veteran national security and defense reporter currently employed as a
        journalist for CNN.

            a. The account is Ms. Starr's only business email account.

            b. Ms. Starr's beat includes reporting on activities by the U.S. government in the
                areas ofdefense, military intelligence and actions, and, more broadly,national
                security.

     4. Upon receipt ofthe Order, Wamer Media promptly took steps to preserve data in the
         account,collect it for review, and begin review ofthe records.
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      ,h.existe„ceoftheOrde.andisthusunabletodiscussit.resp.nsevdt^
   6. Despite challenges posed by the need to review materials remotely as a result ofthe
      coronavirus outbreak and its inability to discuss the materials with Ms.Starr. Warner
       Media has identified 34,347 emails sent or received by Ms.Starr s acco
       pariodofJunel,2017,toJuly31,2017C'theemails").
    7 Ofthose,over 26,000 areinternal emails among only employees workihg asj
    ' forCNN.oremployeesofWarnerMedia.oranotherWarnerMe4iasubsidiary.manyo
     'v^rhich appear to relate to internal newsgafliering activities and editorial pro
     8 Approximately  7.800 ofthose emails are commumcafions between Ms.Starr
       and external email accounts,many of which were sent   /NT-rA/-eived in the course of her


         newsgatheriilg activities.
                                  • tViP Order Ms Starr publmh^ more than 50 articles
     9 DuriUgtheperiodoftimeatissuemtheOrder.M     . . P,




          personal issues.

    Ideclare under penalty ofpeourythatthe foregoing is tmeandco^^^^^
    mderstanding and belief. Executed on September 10.2020.


                                                                tephanieiS; Abtu^
                                                              Ssaiior.Wice;^id«mt & Chief
                                                              Covmsel.litigation and Public
                                                              Policy.iWSihetMedia
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                                  CERTIFICATE OF SERVICE

       I hereby certify that on the 11th Day of September,2020,1 filed the foregoing with the Clerk
ofthe Court by hand and caused a true and correct copy ofthis under seal filing to be served via hand
delivery on the following:

       Gordon D.Kromberg •
       Assistant United States Attorney
       United States Attorney's Office
       2100 Jamieson Avenue
       Alexandria, VA 22314
        gordon.kiomberg@usdoj.gov

        Attorneyfor the United States

                                                   WWtnl/RWseU          Bar No.987238)
                                                   WILMER CUTLER PICKERING
                                                     HALE AND DORR LLP
                                                   1875 Pennsylvania Ave.NW
                                                   Washington,DC 20006
                                                   Tel: (202)663-6000
                                                   Fax: (202)663-6363

                                                   Counselfor Warner Media LLC
